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1                                                                                 Judge Burgess
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8                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
9                                       AT TACOMA
10   UNITED STATES OF AMERICA,                     )
                                                   )       NO. CR05-5504FDB
11                          Plaintiff,             )
                                                   )
12                  v.                             )       AMENDED ORDER GRANTING
                                                   )       CONTINUANCE OF TRIAL
13   WALTER BOYD McILWAIN,                         )       AND RELATED DATES
     ALEJANDRO BARRAGAN,                           )
14   RICHARD DENNIS MILLER,                        )
     CHARLES CLAY WINANS,                          )
15   BRANDON LEE PENN, and                         )
     JOSE MENDOZA,                                 )
16                                                 )
                            Defendants.            )
17                                                     )
18           THIS MATTER comes on before the Court on the motion to continue the trial date raised
19   by counsel for defendants Brandon Lee Penn, Walter Boyd McIlwain, Alejandro Barragan,
20   Richard Dennis Miller, Charles Clay Winans and Jose Mendoza. The defendants counsel having
21   agreed to the continuance as well as counsel for the government, the court finds that:
22           1. The trial in this matter is scheduled for September 6, 2005, at 9:00 a.m. The pretrial
23   cut off date was set at August 1, 2005, and the pretrial conference was scheduled for August 17,
24   2005.
25           2. Discovery was not received until August 1, 2005, there is a need for substantial
26   investigation. Counsel will need time to prepare for trial and all counsel agree that to be
27   adequately prepared, the trial date and the pre-trial motions date and conference dates should be
28   extended.


     Order/U.S. v. McIlwain, et al. - 1                                                  UNITED STATES ATTORNEY
                                                                                         1201 PACIFIC AVENUE, SUITE 700
     CR05-5504FDB                                                                         TACOMA, WASHINGTON 98402
                                                                                                 (253) 428-3800
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1            3. The defendants understand that to be adequately represented that a continuance is

2    necessary.

3            4. The government consents to the continuance.

4            5. The ends of justice outweigh the best interests of the public and the defendants to a

5    speedy trial. Failure to grant the continuance would deny counsel for defendants adequate time to

6    effectively prepare for trial.

7            6. As to defendant Alejandro Barragan, who agreed to a trial continuance and to sign a

8    waiver, then changed his mind and decided not to sign the Speedy Trial Waiver, the Court finds

9    that his time is excluded and that the ends of justice served by taking this action outweigh the best

10   interest of the defendant in a speedy trial, pursuant to 18 U.S.C 3161(h)(7) and (h)(8)(B)(ii)

11           NOW, THEREFORE,

12           IT IS HEREBY ORDERED that the trial date is continued from September 6,

13   2005 to December 5, 2005. The resulting period of delay from September 6, 2005, up to

14   and including the new trial date of December 5, 2005, is hereby excluded for speedy trial

15   purposes under 18 U.S.C. § 3161(h)(8)(A) and (B).

16           Pretrial motions are due no later than September 14, 2005.

17
             DATED this 1st day of September 2005.
18

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                                                   A
                                                   FRANKLIN D. BURGESS
                                                   UNITED STATES DISTRICT JUDGE
23

24
     Presented by:
25

26
     s/ Gregory A. Gruber
27
     GREGORY A. GRUBER
28   Assistant United States Attorney

     Order/U.S. v. McIlwain, et al. - 2                                                  UNITED STATES ATTORNEY
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1
     /s/ Roger A Hunko
2    Roger A Hunko
     Attorney for Defendant
3

4    /s/ Linda R Sullivan
     Linda R Sullivan
5    Attorney for Defendant
6

7
     /s/ Charles A Johnston
8    Charles A Johnston
9
     Attorney for Defendant

10   /s/ Keith Alexander MacFie
     Keith Alexander MacFie
11   Attorney for Defendant
12
     /s/ Michael Edward Schwartz
13   Michael Edward Schwartz
     Attorney for Defendant
14

15   /s/ Phil L Brennan
     Phil L Brennan
16   Attorney for Defendant
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     Order/U.S. v. McIlwain, et al. - 3                                     UNITED STATES ATTORNEY
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